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Form fnldec (10/05)


                              UNITED STATES BANKRUPTCY COURT
                                       District of Maryland
                                                Baltimore Division
                                         101 West Lombard Street, Ste. 8530
                                              Baltimore, MD 21201

                                       Case No.: 08−27182          Chapter: 7

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):

   Gerald Vaughn Barnett                                    Angelia Marie Barnett
   debtor has no known aliases                              debtor has no known aliases
   1 Lexington Court                                        1 Lexington Court
   North East, MD 21901                                     North East, MD 21901
   Social Security No.: xxx−xx−9805                         xxx−xx−9491
   Employer's Tax I.D. No.:

Petition for Relief under Chapter 7 of Title 11, U.S. Code, filed by or against the above−named Debtor(s) on 12/24/08



                                                FINAL DECREE

The estate of the above−named debtor(s) has been fully administered.

IT IS ORDERED THAT:

George W. Liebmann is discharged as trustee of the estate of the above−named debtor; and the chapter 7 case of the
above named debtor is closed.


Dated: 7/24/09

                                                            Nancy V. Alquist
                                                            U.S. Bankruptcy Judge
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                                CERTIFICATE OF NOTICE
 District/off: 0416-1                  User: jgladysie                    Page 1 of 1                          Date Rcvd: Jul 24, 2009
 Case: 08-27182                        Form ID: fnldec                    Total Noticed: 1

 The following entities were noticed by first class mail on Jul 26, 2009.
 db/db        +Gerald Vaughn Barnett,   Angelia Marie Barnett,   1 Lexington Court,                         North East, MD 21901-4604
 The following entities were noticed by electronic transmission.
 NONE.                                                                                                               TOTAL: 0
               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                               TOTAL: 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Jul 26, 2009                                       Signature:
